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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                             Plaintiff,

           v.                                             Case No. 19-CR-227

PETER GERACE, JR.,

                             Defendant.




                      DEFENDANT PETER GERACE'S
                  REPLY MEMORANDUM REGARDING HIS
                OBJECTIONS TO THE MAGISTRATE/JUDGE'S
                 REPORT, RECOMMENDATION AND ORDER
                         DATED AUGUST 5, 2022




                                          Respectfully submitted,


                                          /s/ Joseph M. LaTona
                                          JOSEPH M. LaTONA, ESQ.

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                               PRELIMINARY STATEMENT


               This reply memorandum addresses only those portions of the prosecution response

to which a written reply is deemed necessary.


                                GRAND JURY DISCLOSURE


               The prosecution does not dispute the fact that Rule 6 of the Federal Rules of

Criminal Procedure authorizes the disclosure of grand jury materials where a ground to dismiss an

indictment "may exist."

               Similarly, the prosecution does not dispute the Magistrate/Judge's express finding

that the Organized Crime grand jury testimony was "prejudicial to Gerace" [Doc. 291, p. 26].

               The prosecution ignores the recognition in United States v. Williams, 504 U.S. 36,

112 S.Ct. 1735 (1992), that a lower court can exercise its supervisory power to dismiss an

indictment where misconduct was committed by "prosecutors (and others)." 504 U.S. at 46, n. 6;

112 S.Ct. at 1741, n. 6. Unquestionably, Katrina Nigro perjured herself before the grand jury --

whether the prosecution was aware of it is not determinative. The Williams court expressly noted

that misconduct by an individual other than a prosecutor can provide grounds to dismiss an

indictment.

               The prosecution complains that the defense referenced the Department of Justice

Guidelines [Doc. 305, p. 9, n. 4]. The prosecution cites an earlier decision by Judge Arcara which

is readily distinguishable as it involved a defense motion to suppress the defendant's grand jury

testimony. In that case, Judge Arcara limited his holding as there had been no claim of any

constitutional violation by the defense.    United States v. Fish, 2006 WL 3731292 at *12.
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Furthermore, the Second Circuit has expressly recognized that it is appropriate to review the

United States Attorney's manual regarding the fairness of a proceeding before the grand jury.

United States v. Hogan, 712 F.2d 757, 759-760 (1983).


                                  PREJUDICIAL SURPLUSAGE


                  The defense asks this Court to follow the procedure adopted by Judge Arcara in

United States v. Allen, 2014 WL 1745933 (W.D.N.Y. 2014).

                  This would involve redacting the Italian Organized Crime ["IOC"] allegations from

the indictment.

                  Obviously, should the prosecution establish a case for the admissibility of such

proof at trial, that can be determined at the time of trial.

                  The defense is concerned that if the jury is exposed to the IOC allegation before

any proof is presented that it would be prejudicial to Mr. Gerace. This was the concern that Judge

Arcara had in the Allen case.

                  The defense submits that a limiting instruction is simply not sufficient. It should

be noted that the IOC allegation is not even limited to an Italian/American criminal enterprise.

Obviously, this could support a prejudicial inference that in some form or fashion Mr. Gerace

might be linked to some international enterprise whose purpose is the commission of crimes.

                  The defense submits that there are certain grouping allegations which inevitably

would prejudice a criminal defendant, such as Al Qaida, ISIS, KKK and La Cosa Nostra.

                  Accordingly, we ask only that the Court adopt the procedure set forth by Judge

Arcara in the Allen decision.




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                                          SUPPRESSION


               In United States v. Benevento, 836 F.2d 60 (2d Cir. 1987), the court indicated that

an affiant's experience might be insufficient to establish a nexus to search a location affiliated with

a criminal defendant.     In Benevento, the Second Circuit cited to United States v. Gomez,

652 F.Supp. 461 (E.D.N.Y. 1987). Gomez is a case relied upon by the defense and one which was

brought to the Magistrate/Judge's attention.

               The redacted warrant application failed to factually establish any nexus between

Mr. Gerace's alleged possession and distribution of controlled substances and the cell phone.

               Under the principle set forth in United States v. Reilly, 73 F.3d 1271 (2d Cir. 1996),

the good faith exception does not apply. 76 F.3d at 1280.


                                          CONCLUSION


               Mr. Gerace's objections should be adopted by the Court. The Court is also

requested to consider the defense motion for severance and to strike prejudicial surplusage.


DATED:         October 14, 2022                        Respectfully submitted,
               Buffalo, New York

                                                       /s/ Joseph M. LaTona
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                               CERTIFICATE OF SERVICE


                I hereby certify that on October 14, 2022 I electronically filed the preceding
document with the Clerk of the District Court using the CM/ECF system, which sent notification
of such filing to the following:

                                   Joseph M. Tripi, Esq.
                                   David J. Rudroff, Esq.
                             Assistant United States Attorneys

                                      Defense Counsel

              I further hereby certify that I have mailed by United States Postal Service said
document to the following non-CM/ECF participants:

                                            None


                                                   /s/ Sandra Lee Wright
                                                   SANDRA LEE WRIGHT
